Case 1:17-cr-00034-JRH-BKE Document 357-1 Filed 07/08/20 Page 1 of 3




               EXHIBIT A
             Case 1:17-cr-00034-JRH-BKE Document 357-1 Filed 07/08/20 Page 2 of 3

                                                                                                     MONARCH PLAZA
                                                                                                     SUITE 1600
                                                                                                     3414 PEACHTREE ROAD N.E.
                                                                                                     ATLANTA, GEORGIA 30326


                                                                                                     PHONE:       404.577.6000
                                                                                                     FAX:         404.221.6501


                                                                                                     www.bakerdonelson.com


      JOE D. WHITLEY, SHAREHOLDER
      Direct Dial: 404.223.2209
      E-Mail Address: jwhitley@bakerdonelson.com




       ATTORNEY-CLIENT COMMUNICATION: THIS DOCUMENT AND ITS CONTENTS
                CONSTITUTE LEGALLY PRIVILEGED INFORMATION



                                                              June 17, 2020


      By U.S. Mail

      Reality Leigh Winner – Registration No. 22056-021
      FMC Carswell
      Federal Medical Center
      P.O. Box 27137
      Fort Worth, TX 76127

                RE: USA v. Reality Winner, United States District Court for the Southern District of
                Georgia, Case No. 1:17-cr-00034-JRH-BKE-1, and United States Court of Appeals
                for the Eleventh Circuit, Case No. 20-11692-CC – Withdrawal of Jill E. McCook and
                Katherine C. Mannino as counsel

      Dear Reality,

      I hope this finds you well. I am writing to inform you that Baker Donelson Bearman Caldwell &
      Berkowitz, PC (“Baker Donelson”) will be filing a motion to withdraw Jill E. McCook and
      Katherine C. Mannino as counsel of record with the United States District Court for the Southern
      District of Georgia under Case No. 1:17-cr-00034. We will also file a similar motion to withdraw
      both individuals as counsel of record with the United States Court of Appeals for the Eleventh
      Circuit under Appellate Case No. 20-11692.

      As you are aware, Jill McCook and Katherine Mannino previously served with me on my legal
      team at Baker Donelson as members of your counsel of record before the United States District
      Court for the Southern District of Georgia. Both Ms. McCook and Ms. Mannino have left the firm
      to pursue other careers, and they are no longer able to further assist us in representing you.




ALABAMA Ć FLORIDA Ć GEORGIA Ć LOUISIANA Ć MARYLAND Ć MISSISSIPPI Ć SOUTH CAROLINA Ć TENNESSEE Ć TEXAS Ć VIRGINIA Ć WASHINGTON, D.C.
     Case 1:17-cr-00034-JRH-BKE Document 357-1 Filed 07/08/20 Page 3 of 3


June 17, 2020
Page 2

Please know that as your legal counsel, Baker Donelson and I are committed to and will continue
to serve as your counsel of record before the United States District Court for the Southern District
of Georgia and the United States Court of Appeals for the Eleventh Circuit.

Please feel free to contact me if you have any questions.

                                              With best regards,


                                              Joe D. Whitley, Esq.


cc: Jill E. McCook, Esq.
    Katherine C. Mannino, Esq.
